Case 1:20-cv-00484-LO-TCB Document 412 Filed 10/27/21 Page 1 of 5 PageID# 13342



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division



    Amazon.Com,Inc., et al.

                           Plaintiffs,

             V.                                                Case No. 1:20-cv-00484
                                                               Hon. Liam G'Grady
    WDC Holdings LLC,et al.

                           Defendants.


                                              ORDER


        This matter comes before the Court on Defendants' Motion for a Preliminary Injunction

 Clarification, Dkt. 343, and on Plaintiffs' Motion for Civil Contempt, Dkt. 347. These Motions

 are related, as both concern the interpretation and enforcement of the Court's Preliminary

 Injunction Order, Dkt. 57, which was issued on June 5, 2020, and which was upheld by the

 Fourth Circuit, Dkt. 319, on August 31, 2021. The Court addresses both of these Motions

 together.

                                         I. BACKGROUND

        Plaintiffs initially filed this case and sought preliminary injunctive relief in April 2020.

 Dkt. 1. The action arises out of a fraud and kickback scheme, through which Plaintiffs allege

 Defendants and their co-conspirators obtained tens of millions of dollars in illicit proceeds on

 more than $500 million of Amazon development projects in this District. Dkt. 348 at 11.

 Defendant Brian Watson is the owner of Defendant WDC Holdings, a Colorado real estate

 development company operating as Northstar. Beginning in 2017, Watson cultivated a

 relationship with two Amazon real estate transaction managers— co-defendants Carleton Nelson
Case 1:20-cv-00484-LO-TCB Document 412 Filed 10/27/21 Page 2 of 5 PageID# 13343
Case 1:20-cv-00484-LO-TCB Document 412 Filed 10/27/21 Page 3 of 5 PageID# 13344
Case 1:20-cv-00484-LO-TCB Document 412 Filed 10/27/21 Page 4 of 5 PageID# 13345
Case 1:20-cv-00484-LO-TCB Document 412 Filed 10/27/21 Page 5 of 5 PageID# 13346
